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Initials: , ee
SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS

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JULIE E. HAYES, on behalf of

herself and all others similarly; Purchased and filed on:
situated, July 2, 2004 oe
Plaintifé, : Plaintiff designates

; New York County: as
: the place for trial

- against -. :
: The basis of venue is
AMBRICAN AIRLINES, INC, ! place of business of.
: Defendant.
Defendant. $
t SUNMONs
ot NY Oy ee ee cee nae ee x

To the above named defendant;

YOU ARE HEREBY SUMMONED to answer the complaint in this

action and to serve a copy of your answer, or, if the complaint is
not served with this summons, to serve @ notice of appearance,. on
the Plaintiff’s Attorneys within. 20 days after service of thig
summons, exclusive of the day of service (or within 30 days after
the service is complete if this summons is not bersonally delivered
to you within the State of New York); and in case of your failure

to appear or answer, judgment will be taken against you by default
for the relief demanded in the complaint,

Defendant’s address:

.t
}

American Airlines, Inc,
4333 Amon Carter Blvd.
Ft. Worth, TX 76155

Dated: July 1, 2004

WECHSLER HARWOOD LLP.

By: Ve

zt I. Harwood
amueal K. Ree .
488 Madison Avenue:
New York, New York 10022
(212) 935-7400

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orneys for Plaintife
Case 1:04-cv-12450-MEL Document 76-3 Filed 02/13/06 Page 2 of 24

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SUPREME, COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS

ow eT x
JULIA BE. HAYES individually and on : be
behalf of all others similarly situated, t : Index No. | Gl 7-6 / 2 uf
plaintiff,’ "4° @uASS ACTION
:  GOMPLAINT
-vA- : oe
AMERICAN AIRLINES, INC. '

Defendant .

plaintiff, individually end on behalf of ‘all others
similarly situated, by her undersigned attorneys, alleges upon
personal information as to herself and upon information and belief
as to all other allegations, for her Class Action Complaint against
defendant American Airlines, Inc. (*AA”).

NA Q

1. Plaintiff brings this action on behalf of a class
(the “Class”) comprised of all persous who, during the period
commencing six years priox to the date of the filing this complaint
and continuing to the present (the “Class period") , purchased a
ticket to fly on an AA flight and paid to AA, a Passenger Facility
Charge (“PFC”) and/or a Passenger Security Service Fee (“PSSF”)
and, after the ticket was not used for a Elight within the allotted

time period and expired, AA failed to refund the PFC and/or PSSF.
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s «

2. PFCs and PSSFs. are not part of the price of a

PFC’s are fuhds collected by AA for payment over to the

"airports from which a traveler enplanes; PSSFs are collected by Aa,

held in trust for the Transportation Security Administration

“TSA”), and when appropriate remitted to the TSa,

3. . Defendant is required to remit to the relevant

airports and the TSA the funds collected for the PFCs and PSSFs,

respectively, only if the passenger in fact flies on the ticketed,

or another, AA £light. If the passenger does not fly on the

ticketed or substituted an Elight, and the ticket expires, AA is

required to refund the PFC and P§SC to the ticket purchaser,

4. However, AA has failed to refund PFCs and PSSPs to

improperly retained by defendant. Such improper conduct

constitutes breach of contract, unjust enrichment, and violation of

New York General Business Law § 349 (“GEL § 349%) ,

HE PARTIES

6, Plaintiff, Julia EB. Hayes, is & resident of the

County of New York. She purchased a ticket for use by Lucean

Straughn on a flight from Dallas-Fort Worth Airport. ("DFW") to
Case 1:04-cv-12450-MEL Document 76-3 Filed 02/13/06 Page 4 of 24

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LaGuardia Airport ("LGA") on December 23, 2002, with a return to.
pFW from LGA on December 25, 2002, The ticket was never used and

subsequently expired.

4. Defendant AA is a Delaware corporation with its
corporate headquarters located in Fort Worth, Texas. According to.
its public filings, AA is the largest scheduled passenger airline
in the world. AA operates hundreds of flights daily in and out of
the aixporte in this County.

CLASS ACTION ALLEGATIONS

8. Plaintiff brings this action as a class action,
pursuant to Article 9 of the CPLR, on pehalf of plaintiff and all
other Class members. The Clase js comprised of all pereone who,
during the period commencing six years prior to the’ Eiling of this
complaint and continuing to the present, purchased a ticket to fly
on an AA flight and paid to AA @ PPC and/or a PSSPF and, after the
ticket was not used for a flight within the allocated time period
and expired, AA failed to refund the PFC and/or PSSF.

9. The Class satisfies the numerosity, commonality,
typicality, adequacy, predominance and superiority requirements of
CPLR § 901. .

10. The Class’ members are so numerous that joinder of
all members is impracticable. Although the precise number of Clase
members ig unknown to plaintiff at this time and can. be determined

only by appropriate discovery, it is reasonably estimated that the
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Class consists ‘of thousands of members who are geographically
dispersed throughout the country.

11. Because plaintitt purchased a ticket from AA that
expired without being used and failed to receive from AA
reimbursement for the PFC or PgsF, she is a mentbex of the Class.
Plaintiff's claims are typical of the claims of the other Class
member's - The harm suffered by plaintiff and all other Class
mambers was and is caused by the same conduct by defendant, viz,
defendant’s wrongful and inequitable conduct: in pocketing the PFC
and PSSF owed by defendant to the Class. .

12. Plaintiff will fairly and adequately represent and
protect the interests of the Class in that plaintiff has no
interests antagonistic “to, or int conflict with, the Class.
Plaintiff has retained competent counsel, experienced in consumer
and commercial class action litigation, who will prosecute this
action vigorously.

13. A class action is superior to other available
methods ‘for the fair and efficient adjudication of thie
controversy. Because the monetary damages suffered by individual
Class members are small, the expense end burden of individual
litigation make it virtually impossible for individual ‘Clase.
members to seek redress for the wrongful conduct alleged herein.
If class treatment of these claims were not available, defendant

would likely continue its wrongful conduct, and unfairly retain
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millions of dollars in unreimbursed PFCs and PSSFs, Or otherwise
escape liability for its wrongdoing as ‘alleged in thie Complaint.

‘14. Common questions of law and fact exist as to all
Class members which predominate over any questions that may affect
individual Class members. ‘Among the questions of law and fact.
common to the Class are the following: .

a. whether AA violated GBL § 349 by retaining the
amounts of the PFCs and PSSFs owed to the Class;
b. whether AA has been unjustly enriched by such
practices; .

c. whether AA breached ites contracts with the
Class; and

d. . the appropriate measure of damages, restitution
and/or other relief.

15. The Class is readily definable, and prosecution of
this action as a class action will reduce the possibility of
repetitious Litigation. Plaintiff knows of no difficulty to be
encountered in the management of this litigation that would

preclude its maintenance a8 a Class action.
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BACKGROUND FACTS

(THE PRC_PROGRAY

16. Under the PFC program, the - Federal ‘Aviation
Administration ("FAR") may authorize a public agency to impose a
PFC of $1, $2, $3, $4 OF $4.50 on passengers enplaned at a
commercial service airport controlled by the public agency. See 14
C.F.R. §158.5. The PFC regulations define a ‘passenger enplaned"
as a "domestic, territorial or international revenue passenger
enplaned in the States in scheduled or nonscheduled service on
aireraft in intrastate, interstate, of foreign commexce ” 49 C.F.R.
5158.3.

17, The PFC regulations require passenger refunds when
a passenger with a ticket neither enplanes on the ticketed nor a
substituted flight before the ticket expires. According to FAA
requlations: .

Issuing carriers and their agents shall collect the

PFC's based upon the itinerary at the time of

jssuance. Any changes to the itinerary that are

initiated by a passenger that require an adjustment

to the amount paid by the passenger are subject to

collection ‘ox xefund of the PFC as appropriate.
14 C.F.R. §158.45(a) (3). (Bmphasia added.)

18. A PFC Order issued by the FAA contains the following
specific guidance regarding the issuance of PFC refunds to

passengers:

Section 3. COLLECTION OF TICKETS ISSUED IN THE
UNITED STATES
Case 1:04-cv-12450-MEL Document 76-3 Filed 02/13/06 Page 8 of 24

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6-12 INFORMATION REQUIRED ON TICKETS. Issuing
carriers and their agents shall note as a separate
item on each air txavel coupon, ox equivalent
record for which a PFC is collected, the total
amount of PFC’s paid by the passenger and the
aixports for which the PFC’s are collected.

6-13 ADJUSTMENTS. Air carriers must collect PFC’s
from, or refund PFC’s to, passengers for itinerary
changes initiated by the passenger, as appropriate,
for the new itinerary if the changes require an
adjustment to the total amount paid by the
passenger. ,

See Passenger Facility Charge, Order 5500.1, U.S. Dept. of

Transportation, Aug. 9, 2001, at 90 (annexed hereto as “Exhibit A).

THE BSS¥ PROGRAM =

19. Effective February 1, 2002, the TSA imposed a $2.50
security service fee per enplanement on passengers of domestic and
foreign aix carriers in air transportation, foreign air
transportation, and intrastate air transportation originating at
aixports in the United States. See 49 C.F.R. §1510.5. The
regulations define "passenger enplanement" as a "person boarding in
the United States in acheduled or nonscheduled service on aircraft
in intrastate, interstate or foreign air transportation." 49 C.F.R.
§1510.3.

20. The regulations mandate that refunds (or additional
collections) are, required when a passenger changes his itinerary,
and the associated number of’ enplanements:

Any changes by the passenger to the itinerary that
alter the number of enplanements are subject to
additional collection or refund of the security

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service fee by the direct air carrier or foreign
air carrier as appropriate.

gee 49 C.F.R. §1510.9(b). (Emphasis added.)

21. The xefundability to passengers of security service
fees collected by air carriers was the subject of an exchange of
letters between TSA and the Air Transport Association ("ATA") in
late 2002. ‘The ATA noted that some of its member carriers
_treceived inguiries regarding the xrefundability of various
governmentally imposed fees paid by passengers who do not travel on
their scheduled flights (not including changes due to weather,
mechanical problems, etc.)." Letter of James A. Hultquist to
Randall Fiertz, Oct. 9, 2002, at 1 (annexed hereto as “Exhibit BY).
The ATA posed the following epecific questions: .

If a passenger's ticket expires, and the passenger

ig not entitled to a refund of the fare from the

airline, is the previously collected Passenger

Security Service Fee applicable to the unused

travel refundable to the passenger? If so, £xom

whom does the passenger request the refund, since:

in many cases the airline has already remitted. the

funds collected, and it would not otherwise be
issuing a refund to the passenger?

Id, at 2.
92. ‘The TSA responded that air carriers are required to
refund security fees to passengers: )

While Part 1510 does not address in detail how
refunds are to be handled, it clearly indicates
that air carriers and foreign air Carriers are
responsible for refunding September 11 Security
Fees to ticket purchasers. Specifically, it
provides that " [aJny changes by the passenger to
the itinerary that alter the number of enplanements
Case 1:04-cv-12450-MEL Document 76-3 Filed 02/13/06 Page 10 of 24

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fhe securiny service fee by the direct ais_samtie:

or foreign size carrier ag sromaniias e." (emphasis

added) .

Letter of Randall Fiertz to James A, Hultquist, Nov. 21, 2002, at
1-2 (annexed hereto as “Exhibit C”).

23, Thus, when a ticket purchased py a Class member is
not used for aix travel and the ticket expires, AA is required to
refund the PS8F to the purchaser of the ticket.

24. AA never refunded to plaintiff the PFC ox PSSF paid
by her in connection with the expired ticket. Similarly, AA has
never: refunded the PFC or PSSP paid by other Class members when _
their tickets expired.

FIRST. MUSE OF ACTI
Vv. of GBL § 3

25. Plaintiff repeats and realleges the allegations get
forth in the preceding paragraphs of this Complaint as if set forth
fully herein.

26. Defendant's conduct ‘in refusing to refund the PFCs
and PSSFe owed to plaintifé and the other Class members constitutes
materially deceptive acts or practices in the conduct of business,
trade or commerce or in the furnishing of services that affect the
public interest under GBL § 349.

27. Plaintiff and the Class have bean injured by

defendant's conduct.
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28. Defendants: are Jiable for damages sustained by
plaintiff and the Clase, as-allowable under GBL § 349. |
ECOND CAUSE Of ON.
LB Cd. nt.
23, plaintiff repeats and realleges the allegations set
forth in the preceding paragraphs of this Complaint as iE get forth

fully herein.

30. Defendant has been unjustly enriched at the expense
and to the detriment of plaintift and the Claes by wrongfully
retaining PFC’s and PSSPs of Class members under the facts and
circumstances alleged herein. As a result of ite actions,
defendant improperly vetained funds due and owing to the Class.
pefendant’s retention of the monies wrongfully collected - ‘from
plaintiff and the Class violates fundamental principais of justice,
equity and good conscience.

31. Plaintiff and the Class are entitled to recover from
defendant as unjust enrichment all amounts that “have - been
wrongfully and improperly collected and retained by defendant, and
defendant should be required to disgorge the monies which it has

unjuatly retained,

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USE OF
(Breach of Contact)

32, plaintiff repeats and realleges the allegations set
forth in the preceding paragraphs of this Complaint as if set forth
fully herein. .

33. AA's aixline tickets constitute a contract between
BA and the purchasers of such tickets. .

34. Part of the contract between the purchasers of a
ticket and AA is AA's agreement to comply with all laws, rules, and
regulations to which that ticket. ie subject, including remittance
to airports and the TSA of the PFC and PSSF, respectively or, if no
one uges that ticket, to refund the PFC and PSSF to the purchaser.

35. AA breached its contract with plaintifé. and the
Class members by not refunding to them PFCs and PSSPS when the
subject tickets were not used for a flight and subsequently
expired.

36. As a result of defendant’s breach of contract,
plaintiff and the Class have been damaged in an amount to be
determinated at trial.

PRAYER FOR RELIEF

WHEREFORE, plaintiff, on behalf of herself and the Class,

prays for relief and an order and judgment against defendant as

follows:

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A, Certifying this case as a class action pursuant to
the provisions of Article 9.of the CPLR, with plaintift certified
as Class representative; . .

B. Awarding compensatory and/or actual damages, and/or
disgorgement and/or restitution in favor of plaintiff and the
Class, in an amount to be determined at trial;

C. Declaring that defendant's actions in retaining PFCs
and PSSFs of Class members violate GBL § 349, constitute unjust
enrichment, and are breaches of contract; .

D. Enjoining defendant from continuing to improperly
retain plaintiff's and the Class member’s PFCc and PSSFs;

EB. Awarding the costs and disbursements | ineurred | in
connection with this action, including reasonable attorneys’ fees
and experts’ fees and expenses;

F. Awarding pre- and post-judgment interest; and

G. . Granting such other and further relief as the Court

deems just and proper.
JURY DEMAND
Plaintiff and the class demand a trial by jury of all
issues ‘

Dated: July 1, 2004 WECHSLER HARWOOD LLP

488 Madison Avenue
New York, NY 10022:
Tel,: (212) 935-7400

Attorneys for Plaintiff

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ORDER. 5500.1
PASSENGER FACILITY CHARGE
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SEPARTMENT OF TRANSPORTATION. |
Oe DERAL AVIATION ADMINISTRATION |
Distibuilon: ZRP-510; A-FAS- (Ltd) infated By: APP-530 .
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SECTION 3, GOLLECTION ON TICKETS ISSUED IN THE UNITED STATES
6-11. COLLECTION OF PFC'S. .

a. Alr carriers Issuing tickets within the United States must follow provedures ©
speoffied In Pert 168.45, Carriers are responsible for all PFC funds from the ime of
collection from the passenger to the time of retain Oe ee agency. Carters
are responsible for thalr agents’ compliance with PFC requirements, .

b. Air travel fickets are defined In §188.3 a *...l documents pertaining to a
passenger's complate travel itinerary necessary to transport @ passenger by afr,
Including passenger manifests."

¢, The appropriate charge fs the PFC In effect at the airport at the time the ticket
fs Iscuad, Irrespective of when the travel tekes place, .

¢. Issuing carters, and thelr agents, shail cofect the PFC's besed upon the
tinerary at the time of ticket lesuance:

(1) For each one-way trip ehown on the completa Hinerary of an alr vavel ticket,
issuing off camlers and thelr agents shall collect a PFC from ent enpianied revenue
passenger only for the firet two alrporis whore PEC's are imposed. For example, a
passenger plans a one-way tinerary from Baltimore to Los Angeles. In ordertogatthe —
lowest one-way fare, the passengers Itinerary is: Baltimore-Chicago (Midwey)-Saint
Louls-PhoenixLos Angales, Assuming that each stop entailed a new tieket coupon (or
equivalent) and all the airports collect PFC's, the passenger would pay @ PFO for '
Baltimore and Chicago (Midway) only,

_ (2) foreach round trip, a PFC shall be collected only for enplanements at the
firet to enpianing airports (on tha outbound leg) and the last two enplaning airports (on
the return fag) where PFC's era imposed, For exampia, a passenger plans a round-trip.
Hsnerary from Baltimore to Tucson, In ordar to meet scheduing requirements, the °
poasonger's itinerary la: Baltimore-Chicago (orare) Freon ueson outbound and

ucson-Denver-Chicago (O'Hare)}-Baltimore Assuming that the passenger
changed planes for each gegment, requiring a new Bickel coupon OF uivalent record,
and each elmport collects PFC's, the passenger would pay & FG for and
__ Chileage (O'Hare) outbound, end Danver and Chicago (O Hare) Inbound,

” ¢-42, INFORMATION REQUIRED ON TICKETS. lesuing carriers and thelr agents .
shall note as ¢ separate item on each er travel coupon, or equivalent record for which a
PFC Is collacted, the total amount of PFC's pald by the passenger and the alrports for

which the PFC’s sro collactad.
613, ADJUSTMENTS. Alr carlers must cotlect PFC’ from, or rafund PFO's to,
passengers for itinerary changes Inkistad by the passenger, a8 ate, for tha new

finorary i the changes require en adjustment to the total ernount pald the passenger.

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An example wiould be a paseeriger who for ticket from New York Gay”
<rczanpl icone peer tt eaen omer nh Ser. A
three of these alrports collect a §3 PEC. The carter would collect a total of $12 in
PFC's for two points out and two points In retum. Subsequently he passenger, ts

PFC's are remitiad to public agencies ecording to the original ttinerary foritinerary ©
changes Initiated the air carer. For example, ifthe same Hineraries in the above
example were ed to @. case where an alr cartier, cue to a fight cancellation,

Coa aidng, oF ether site, inflates Wnerary changes, a refund woud not be lesuad
to the passenger and the carter would remit the PFC's a3 originally ticketed,

receiving GAS compensati .

point” Is defined as the airport that ie guaranteed al service on an EAS dasignatad . 1
route. PFC’s are collected from passengers r

eavental alr earvice compencation on that route. ‘Tha list of approved BAS points is
Co atained in the DOT, EAS and Domestic Analysis Division, X-63 and Is avalabie on
Its Intemet website end can alco be acceesed through the PFC Interet wobsita.

‘Tha [imitation to the collection of PFC's on EAS compensated travel does not affect the
abifity of public agencias that control EAS-designated alrporte to collect PC's, These"
pubfic agencles are eligible to apply fora PFC and can collact from passengers
enplaning at the airport, regardisas of an EAS designation or subsidy:

615, FREQUENT FLYER AWARDS, Section 204 of the Federal Aviation
Adminiatration Authorization Act of 1994, Public Law No, 103-008, enacted on
August 24, 1994, loodified at 49 U.S.C. 40117(eX2XC)), practudes collection of a PFC
from a passenger enplaning of an airport if the passenger did not pay for the alr

anem whict

tranaportatlon which resulted in such enpl ent, including eny case in
passenger obtained the ticket for the alr transportation with a frequent fiyer eward
oupon without monetary payment,

The FAA interpreta this provision to prohibit the collection of PFC’s fram passengers
conaldered to be nonrevenue gers under existing DOT Regulations and from :

passangers who obteined ticket with an award coupon leauad under a fraquert
fiyar or elmiar bonus award, (frequent flyer award coupon’). For purposes of
this provision, the FAA B “requent flyer eward coupon” to be @ zaro-fare

award of alr transportation thet en alr carer or foreign air carier provides to a
passenger In exchange for accumulated tave! mileage or trip credits in a customer
foyally program. The definition of "frequent yer award" does not extend to redemption
of accumulated credits for awards of additional or upgraded service on tripe for which

Par 6-13 Page 91
Chap & .

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EXHIBIT B |
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. - . EPT. UF TR NSSORTAUION :
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"AIR TRANSPORT ASSOCIATION |

Dear Mz, Fiertz:

sain loner is on behalf of the member sirtines of the Ais Transport Aseociation of Anerice
(ATA), The ATA is the United States’ oldest end largest airline trade sssocintion. Our members
include 22 U.S. and five associate (non-US, sitlines.? 1S members account for more thin 95
percent of the passenger and cargo tafic carted by scheduled U.S, ehtines

Recen , several ATA members recelvid inquires regarding the refandabillty of Yates

a ereceaally fmpocod fees eid by passeagert who donot travel on thar scioSa se EPA OSS
pecluding changes dus to weather, mechanical problems, cic.) ‘Under the rules applicable to.
a en at a pansengor doga not tevel as echodled, tho tickets forthe onused travel will
sree andthe exzont abd forthe unused travel wilLuot be vefanded and will have 80 Yale
towsrd future Travel. Depending npan the ticket, the tiniing of this expiration nrey be ax ea‘ly a8
she od pinally scheduled date of tranxportation or ax much as 22 monthe after that date

The aiilines are sestiing guidance as to the proper preatment of the Passenger Secazity Servite
Fee administered by the TSA when tickets expize." Aitiines exe required ta collect this fee front

' The members arc apoess, Alzdia Alsiinat, Alohe Aifines, Aznedica Wert Alsines, Arsrisan Aas

Amerjoan Traus Air, Adas Aix, Continental Aisiines, Delts Air Lines, DSL Alrways, Emery Aldinas, Jt
nod. Peda, Hawallan Alstine, SotBies Alrety: Nidwes Express Airlines. Nosthwest .

Albtines, Bolex Air Southeest Aitinet. United Aistioes, UPS Aitines, ahd Arzociste

= sitar plane lalao beng requis toe te Apion Depts. nesyresce wd Neen Sarin,
Coie Dias nad Deparcncal of Traneportatine. sll et wbich either hmpote or adedininer fave on pextxin
paisongert. .

a.
An TRANSPORT ARSOCIATION OF AMERICA, INC.
10) Preevaina AvenUe. WW Burra £100 Wasnnlgros, DS 20004-5707

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seo tase Streams oT — (
19/40/02. 19140 PAZ 202.878 4094 ATA 0.6.6. @o03/003
_ Randall Fiertz
October 9, 2002
Page 2

5 , : ticket fs sold and they remit the fees within a preseribed tine
Ca Pa teency: a pascnbed ayers ticket expires, and the passenger is not entided a refond
of the fare froen the airline, is the previously collected the Parsenges Security Sefvice B
applicable to the onuscd travel refimdable to the passenger? IF 06, from whom fet
Pantenger request the refund, since in many easel whe siting hes alssedy toon! fonds
Pvreoled. and it would not otherwise be isruing a refund to the passenger?

Internal enue Service ously considered an analogous situadon. In Revenue Ruting
e109 sa bel hab eect to ann doo uo funda ths pastengs the aDetoh
paid forthe afr wmspoctation the oollected transportation tax atutbuteble to noncefan
amount is to be remisted to the Government.

1 uestions or need
receiving the requested guidance as 6000 as possible, If you have soy ql
adaitfona) information, 1 can be reached at 202-626-4213,

Temes A. Huliquist:
Manuging Director, Taxes

CC: Steven Cohen, Transportation Security Administration

RECEIVED TIME OCT. 10, 12:99PM PRINT TEME OCT. 10, - 12:40PM

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EXHIBIT C
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, ‘? ri - United States Department of Transportation 400 Seventh Grect, KW.
CFaare]. TRANSPORTATION SECURITY ADMINISTRATION , "-Waahingron D.C. sosg0
Se
NOV 21 a2
Mr. Jemes A Hultquist Docket No. 11120
Managing Director, Taxes L -
Air Transport Association G -
1301 Pennsylvania Ave.,N.W., Suite 1100 m
Washington, DC 20004-1707 . ~-
ten ed ML0-F4 . w RE
Dedr Mr. Hultquist: | oo Bn
Thank you for your letter of Octotier 9, 2002, on behalf af the members oftheAir °°

Transport Association (ATA) requesting guidance oa ths refundability of the
Transportation Security Administmtion’s (TSA) September 11" Security Fee to ticket
purchasers who do not travel on their scheduled flights, particularly where the tickets are
nonrefundable and have no value toward future travel, In addition, you inquire asto
hether catriers.or TSA should provide refunds af September 11" Security Fees to ticket
purchasers, ag it is common for carriers to have already remitted to TSA the actual fees
‘collected: from ticket purchasers, ‘You note that ATA is also seeking guidance from the
U.S. Department of Agriculture, the Immigration. and Naturalization Service, and the
Customs Service on their passenger fee refund requirements. Finally, you refer to
Revenue Ruling! 89-109, in which the Internal Revenue Service bold that, to the extent

chat airlines do not refimd the cost of airline tickets to passengers, the attributable taxes
are duc to be remitted to the Government. .

On October 10, TSA placed a copy of your letter in the Department of rtation’s

Docket Management System (DMS) for public review. The DMS is accessible online at
idm. and your letter is identified as item $7 in Docket No. TSA-2001-

11120, TSA alse placed « copy of this response in that docket.

Under 49 CER Bat 1510, air carriers and foreign alr carriers are required to collect
September 11 Security Fees, hold them in trast fur TSA, end remit them to TSA by the
end of the month following the calendar month in which the transportation was sold.
These catriers are responsible for the safekeeping and accounting of these fees, While
Part 1510 does not address in detail how refunds are to be handied, it clearly indicates
that air carriers and foreign air carriers are responsible for refunding September 11°-
Secutity Fees to ticket purchasers, Specifically, it provides that “[ajny changes by the
passenger to the itinerary that alter the nomaber of enplanements sre eulbloct to adiditional

caster as appropriate,” 49 CFR § 1510.90) (ecophasis added), When a ticket pure
Serer use a tloket for als treaagportation and the ticket ion expires or loves ite vatus,
the September 1° Secusi Fee involved Is subject to a refund by the collecting caren to
the ticket purchaser. If such a ticket purchaser requests a refund of the September Jt
Security Fee collected, the carrier must provide the requester with 2 full refund of the fee.

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i considering promulgating further details concerning refunding September 11
Secuity Fees, a8 Will be refected i the Final Rule for 49 CFR Pat 1510, In any case -
where an aix carrier does not refund September 11” Seourity Fees to the ticket purchas¢r,
the fees must be remitted to or remain with TSA. ‘

Where a caiticr remits e September 11" Security Feo to TSA and then refimds the fee to
ticket purchaser, the curler may offset the refund by deducting it from the Septeraber 11
Security Fees remitted to TSA, for the month in which the refimd is provided, In such
cirnimstances, the carrier must keep euditable records of the refund, a required by 49
CFR 1510.15. The carrier must also accurately denote the refund in ity quarterly report
of September 11"* Security Fees imposed, collected, refunded and remitted, as required
by 49 CFR 1510.17, 28 amended. |

ced further assistance, please contact mae at (202) 385-1209, You may also
so ee Steven Cohsn in the Office of the Chief Counsel at (202) 493-1216.

Sincerely,
fl holt $. SAA

Randall Flectz
Acting Director of Revemue

aa

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Index No.

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JULIA E. HAYES, on behalf of herself
.and all others similarly situated,

Plaintiff,
~against- ’

AMERICAN AIRLINES; INC.,

ee ee ee ee ee ee et ee et ee

Defendant.

Can EP

SUMMONS AND CLASS ACTION COMPLAINT

ae pase re.

| WECHSLER’ HARWOOD LLP
Atte 8 for Plaintift .

488 MADISON AVENUE
NEW YORK, N.Y, 10022
. _. (212) 935-7400 tot,

‘To:

Service of a copy of the within
is hereby admitted, a

Dated

Attorney(s) for °

ee - : : . ° , .

that the within is « (certified) true copy of en

duly entered in the office of the clerk of the within named court on
| ONOTICRORSETTLEMENT

thatan mo ces ae

be presented for seulement tothe Hon. » Of which the within is a true copy, wil
one of the judges of the within named Court, at mo . v
Dasedt me mt

Yours, exe,
7 dcr WECHSLER NARHOGD LLP
0: 488 MADISON AVENUE’

Attorneys for ’ NEW YORK, N.Y, 10022

